Case 23-11160-MFW   Doc 17-1   Filed 08/21/23   Page 1 of 2




                      Exhibit A
            Court Listing for White Rock
                               Case 23-11160-MFW                              Doc 17-1                 Filed 08/21/23       Page 2 of 2




                             In The Supreme Court of Bermuda
                                                                       In The Supreme Court of Bermuda
                             Civil and Commercial Court Schedule 2023
                               Monday 14 August - Friday 18 August

MONDAY 14 AUGUST 2023
                                                                                                                                               Approx..
                                                       Civil and Commercial Jurisdiction                        Court Rm.    Assigned Judge
                                                                                                                                               Duration




TUESDAY 15 AUGUST 2023
                                                     Civil and Commercial Jurisdiction
 9:30 2022/188 civ.        Gloyd Robinson -v- The Bermuda Civil Aviation et al                                    CC 1.      Hon. Hargun, CJ    1 Day




WEDNESDAY 16 AUGUST 2023
                                                       Civil and Commercial Jurisdiction




                                                              Registrar's Chambers
        2016/433&434
 2:30                      HSBC Bank Bermuda Limited -v- Cape Verde Co.                                         Chambers     Registrar          1 hr.
        civ.



THURSDAY 17 AUGUST 2023
                                                              Thursday Chambers
 9:30 12:30                Commercial/Civil                                                                                  Hon. Hargun,CJ


                                                    Civil and Commercial Jurisdiction
09:00      2021/56 civ.    AML Creditor Recovery Vehicle PTC -v- Madison Pacific Trust Limited et al             via zoom    Hon. Hargun,CJ


                                                              Registrar's Chambers



FRIDAY 18 AUGUST 2023
                                                      Civil and Commercial Jurisdiction
10:30 2023/261 civ.        In the Matter of White Rock Insurance SAC Limited                                      CC 1.      Hon. Hargun,CJ    2.5 hrs.




*Hon. Mussenden J, out of office - 31 July - 25 August 2023
*DLBE 3rd Floor - Dame Lois Browne Evans Building
*GAB 2nd Floor - Government Administration Building
